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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)

                                             ORDER

       Upon consideration of defendant Roger J. Stone, Jr.’s Unopposed Motion for Permission

to Travel [Dkt. # 142], the motion is GRANTED.

       It is ORDERED that the defendant may travel to Washington, Michigan from July 26, 2019

to July 29, 2019. Defendant shall provide Pretrial Services with a copy of this Order and his

specific travel itinerary for the trip prior to his departure from the Southern District of Florida.

Defendant may not travel to any location aside from that set out above and must contact Pretrial

Services within the first business day by telephone upon his return.

       SO ORDERED.




                                              AMY BERMAN JACKSON
                                              United States District Judge

DATE: July 16, 2019
